                                      United States Bankruptcy Court
                                        Northern District of Ohio
In re:                                                                                  Case No. 18-33883-maw
Robert Wendell Gardner                                                                  Chapter 7
Christianne Gardner
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0647-3           User: admin                  Page 1 of 2                   Date Rcvd: Dec 18, 2018
                               Form ID: 309A                Total Noticed: 50


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 20, 2018.
db/db          +Robert Wendell Gardner,    Christianne Gardner,     4847 Hollyview Drive,
                 Vermilion, OH 44089-1616
tr             +Patti Baumgartner-Novak,     3015 Navarre Avenue #203,    Oregon, OH 43616-3339
25788168       +Artesia Spring white,    8100 West Ridge Road,     Elyria, OH 44035-1948
25788169       +Attorney Richard Avis,    P.O. Box 31579,    Chicago, IL 60631-0579
25788170       +Brecksville Commons Office,     8223 Brecksvile Rd.,    Brecksville, OH 44141-1371
25788171       +Bureau of Workers Compensation,     30 West Spring Street,    Columbus, OH 43215-2256
25788178      ++COLUMBIA GAS,    290 W NATIONWIDE BLVD 5TH FL,     BANKRUPTCY DEPARTMENT,    COLUMBUS OH 43215-4157
               (address filed with court: Columbia Gas,      P.O. Box 117,    Columbus, OH 43216)
25788175       +Cavalry Spv I, Llc,    4645 Executive Drive,     Columbus, OH 43220-3601
25788177       +Cleveland Clinic,    9500 Euclid Avenue,    Cleveland, OH 44195-0002
25788179       +Credit Corp,    180 Election Road,    Suite 200,    Draper, UT 84020-6406
25788180       +Credit Management,    7381 Airport View Drive, SW,     Rochester, MN 55902-1875
25788182       +FFCC,    24700 Chagrin Blvd,    Beachwood, OH 44122-5647
25788183        Fed Loan Servicing,    P.O. Box 17106,    Harrisburg, PA 17106
25788184       +Fifth Third Bank,    4400 Liberty Avenue,    Vermilion, OH 44089-1908
25788186       +Financial Management System,     1701 Golf Road, #2-150,    Rolling Meadows, IL 60008-4252
25788187       +Fundbox,    300 Montgomery Street,    San Francisco, CA 94104-1921
25788188       +Gibraltar Capital Advance,     600 W Jackson Blvd Suite 750,    Chicago, IL 60661-5683
25788190       +James Bunch,    5475 Liberty Avenue,    Vermilion, OH 44089-1333
25788191       +Judi Fischer,    2869 Whispering Shores Drive,     Vermilion, OH 44089-2594
25788192       +Keiser University,    1500 NW 49th St,,    Fort Lauderdale, FL 33309-3700
25788194       +Levy & Associates,    4645 Executive Drive,     Columbus, OH 43220-3601
25788197       +Mt Technologies,    33588 Pin Oak Pkwy,    Avon Lake, OH 44012-2320
25788198       +National Debt Relief,    11 Broadway 16th Floor,     New York, NJ 10004-1313
25788199       +Nationwide Insurance,    P.O. Box 974,    Des Moines, IA 50306-0974
25788200       +Norwalk Heating And Air,     192 1/2 Akron Rd.,    Norwalk, OH 44857-9203
25788202      ++PROFESSIONAL RECOVERY CONSULTANTS INC,     2700 MERIDIAN PARKWAY,    SUITE 200,
                 DURHAM NC 27713-2450
               (address filed with court: Professional Recovery Consultants,       2700 Meridian Pkwy,
                 Durham, NC 27713)
25788204       +State of Ohio Dept. of Taxation,     Attn: Bankruptcy Dept.,    150 East Gay Street, 21st Fl,
                 Columbus, OH 43215-3191
25788206       +Time Warner Cable,    1 Time Warner Cener,    New York, NY 10019-6010
25788208       +Vactionland FCU,    2409 East Perkins Avenue,     Sandusky, OH 44870-5198
25788209        Value City Furniture,     950 Forrer Blvd,    Cleveland, OH 4520
25788210       +Vermilion Municipal Court,     687 Decatur Street,    Vermilion, OH 44089-1152
25788211       +Victoria Financial,    P.O. Box 607,    Norwood, MA 02062-0607
25788212       +ZZounds Music,    8 Thornton Road,    Oakland, NJ 07436-3116

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: docket@ohbksource.com Dec 18 2018 22:54:43       William J. Balena,
                 30400 Detroit Road,    Suite 106,   Westlake, OH 44145
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Dec 18 2018 22:55:24        Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,    Suite 441,    Cleveland, OH 44114-1234
25788172       +EDI: CCS.COM Dec 19 2018 03:38:00      CCS,    P.O. Box 607,   Boston, MA 02062-0607
25788173       +EDI: RMSC.COM Dec 19 2018 03:38:00      Care Credit,    P.O. Box 960061,    Orlando, FL 32896-0061
25788174       +E-mail/Text: bankruptcy@cavps.com Dec 18 2018 22:56:14       Cavalry Portfolio Service,
                 500 Summit Lake Drive,    Valhalla, NY 10595-2322
25788176       +E-mail/Text: bmg.bankruptcy@centurylink.com Dec 18 2018 22:56:06        Century Link,
                 100 Centurylink Drive,    Monroe, LA 71203-2041
25788181       +EDI: DCI.COM Dec 19 2018 03:38:00      Diversified Consultants,     P.O. Box 551268,
                 Jacksonville, FL 32255-1268
25788185       +E-mail/Text: kdoll@fst1952.com Dec 18 2018 22:55:04       Finance Systems of Toledo,
                 2821 N Holland Sylvania Rd # C,,    Toledo, OH 43615-1871
25788189       +E-mail/Text: bankruptcy@huntington.com Dec 18 2018 22:55:51       Huntington Bank,
                 P.O. Box 182387,    Columbus, OH 43218-2387
25788193       +E-mail/Text: key_bankruptcy_ebnc@keybank.com Dec 18 2018 22:56:10        Key Bank,
                 P.O. Box 93885,   Cleveland, OH 44101-5885
25788195       +E-mail/Text: PBS-Provider-Services@mercy.com Dec 18 2018 22:56:32        Mercy Health,
                 P.O. Box 630827,    Cincinnati, OH 45263-0827
25788196       +EDI: CAPIO.COM Dec 19 2018 03:38:00      Mitchell D. Bluhm & Associates LLC,
                 2222 Texoma Pkwy, #160,    Sherman, TX 75090-2482
25789987       +EDI: PRA.COM Dec 19 2018 03:38:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
25788201       +E-mail/Text: jenniferk@pcaofmn.com Dec 18 2018 22:56:41       Professional Credit Analyst,
                 24 North Front Street,    New Ulm, MN 56073-1671
25788203        EDI: NEXTEL.COM Dec 19 2018 03:38:00      Sprint,    P.O. Box 4191,    Carol Stream, IL 60197
25788205       +EDI: RMSC.COM Dec 19 2018 03:38:00      Synchrony Bank,    200 Crossing Blvd,
                 Bridgewater, NJ 08807-2861
25788207       +EDI: USBANKARS.COM Dec 19 2018 03:38:00      US Bank Home Mortgage,     4801 Frederica Street,
                 Owensboro, KY 42301-7441
                                                                                               TOTAL: 17


       18-33883-maw         Doc 8    FILED 12/20/18       ENTERED 12/21/18 00:20:29            Page 1 of 4
District/off: 0647-3                  User: admin                        Page 2 of 2                          Date Rcvd: Dec 18, 2018
                                      Form ID: 309A                      Total Noticed: 50


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 20, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 18, 2018 at the address(es) listed below:
              Patti Baumgartner-Novak    pnovak@bex.net, kroseman@bex.net;OH76@ecfcbis.com
              William J. Balena   on behalf of Debtor Robert Wendell Gardner docket@ohbksource.com,
               debra@ohbksource.com
              William J. Balena   on behalf of Debtor Christianne Gardner docket@ohbksource.com,
               debra@ohbksource.com
                                                                                            TOTAL: 3




         18-33883-maw             Doc 8       FILED 12/20/18           ENTERED 12/21/18 00:20:29                    Page 2 of 4
Information to identify the case:
Debtor 1              Robert Wendell Gardner                                            Social Security number or ITIN        xxx−xx−9340
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Christianne Gardner                                               Social Security number or ITIN        xxx−xx−0187
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Ohio
                                                                                        Date case filed for chapter 7 12/14/18
Case number:          18−33883−maw


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Robert Wendell Gardner                              Christianne Gardner

2.      All other names used in the
        last 8 years

3.     Address                               4847 Hollyview Drive                                    4847 Hollyview Drive
                                             Vermilion, OH 44089                                     Vermilion, OH 44089

4.     Debtor's attorney                         William J. Balena                                  Contact phone (440) 365−2000
                                                 30400 Detroit Road
       Name and address                          Suite 106                                          Email: docket@ohbksource.com
                                                 Westlake, OH 44145

5.     Bankruptcy trustee                        Patti Baumgartner−Novak                            Contact phone (419) 724−2480
                                                 3015 Navarre Avenue #203
       Name and address                          Oregon, OH 43616                                   Email: pnovak@bex.net
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




     18-33883-maw                  Doc 8          FILED 12/20/18            ENTERED 12/21/18 00:20:29                       Page 3 of 4
Debtor Robert Wendell Gardner and Christianne Gardner                                                              Case number 18−33883−maw


6. Bankruptcy clerk's office                    United States Bankruptcy Court                               Hours open 9:00 AM − 4:00 PM
                                                1716 Spielbusch Ave Room 411
    Documents in this case may be filed at this Toledo, OH 43604                                             Contact phone 419−213−5600
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Date: 12/18/18
    www.ohnb.uscourts.gov.


7. Meeting of creditors                          February 12, 2019 at 08:00 AM                               Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Ohio Building, 420 Madison Ave,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Room 680, Toledo, OH 43604
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.

                                                         *** Valid photo identification required ***
                                                     *** Proof of Social Security Number required ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 4/15/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2




     18-33883-maw                 Doc 8          FILED 12/20/18               ENTERED 12/21/18 00:20:29                         Page 4 of 4
